EXHIBIT 1
                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION
BANK POLICY INSTITUTE, OHIO CHAM-
BER OF COMMERCE, OHIO BANKERS
LEAGUE, AMERICAN BANKERS ASSOCI-
ATION and CHAMBER OF COMMERCE OF
THE UNITED STATES OF AMERICA,                       Case No. 2:24-cv-04300
                                                    District Judge Algenon L. Marbley
                      Plaintiffs,                   Magistrate Judge Chelsey M. Vascura
       v.

BOARD OF GOVERNORS OF THE
FEDERAL RESERVE SYSTEM,

                      Defendant.


                                    Declaration of Sarah Flowers

       1.      My name is Sarah Flowers, and I am Senior Vice President, Senior Associate Gen-

eral Counsel, Regulatory Affairs, for Plaintiff Bank Policy Institute (“BPI”).

       2.      Unless otherwise stated, this Declaration is based upon my personal knowledge and

belief and/or upon my review of business records of BPI. If called as a witness, I could and would

testify competently thereto.

       3.      BPI is a nonpartisan public policy, research, and advocacy group. BPI’s members

include universal banks, regional banks, and major foreign banks doing business in the United

States. Many of BPI’s members—including Bank of America Corporation; Citigroup, Inc.; Citi-

zens Financial Group, Inc.; Fifth Third Bancorp; Goldman, Sachs & Co.; Huntington Bancshares

Inc.; JPMorgan Chase & Co.; Morgan Stanley; The PNC Financial Services Group, Inc.; U.S.

Bancorp; and Wells Fargo & Co.—are required to participate in the Board of Governors of the
Federal Reserve System’s supervisory stress tests and comply with the capital requirements that

are challenged in this case.

        4.      The actions challenged in this case conflict with BPI’s policy objectives, and chal-

lenging the actions is germane to the organizational purpose of BPI. BPI supports and advocates

for banks that are subject to the stress tests.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed this 19 day of March, 2025 at _BPI’s Washington, D.C. Office_.




                                                      __________________
                                                      Sarah Flowers

                                                      On behalf of Bank Policy Institute




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